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UNITED STATES DISTRICT COURT
‘EASTERN DISTRICT OF PENNSLYVANIA
at : / X

 

Robert Bennett,
pO Civil Action No.:14-cv-02353-RBS
Plaintiff,

-against-
NOTICE OF SETTLEMENT
AllianceOne Incorporated,

Defendant.

 

Xx

Plaintiff Robert Bennett, hereby respectfully apprises this Honorable Court that the
parties have negotiated a settlement of the above-captioned matter. Plaintiff further states as
follows:

1. The parties have reached a settlement accord and are currently in the process of

preparing formal documents necessary to memorialize the pertinent terms and
conditions of the parties’ settlement agreement.

2. Given the imminence of the parties’ finalizing terms of the settlement agreement,
Plaintiff respectfully requests a stay of all deadlines and further requests that the
parties be excused from any appearances and any obligations for court filings.

3. Plaintiff shall file a Notice of Voluntary dismissal within forty five (45) days.

‘Dated: New York, New York
. June 10th, 2014
" Respectfully submitted,

By: _s/ Renee F. Bergmann
Renee F. Bergmann, Esq.

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